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AO 440 (Rev, 0()112) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                              District of Delaware

                TRILLIANT SURGICAL, LLC                                )
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                             Pfai11t(f}(,\)                            )
                                  V.
                                                                       )       Civil Action No. 1 :25-CV-00457MN
                                                                       )
                     NICHOLAS RICCIONE
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                                                       ALIAS SUMMONS IN CIVIL ACTION
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To.. tneJemla111
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                 s name and "ddress) NICHOLAS RICCIONE
                                     9012 Dulcietto Ct.
                                              Boca Raton, FL 33496




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 or
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                John P. DiTomo
                                Morris, Nichols, Arsht & Tunnell LLP
                                1201 North Market Street
                                Wilmington, DE 19801


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                  CLERK OF COURT

 Date:               04/22/2025                                                                       /s/ Randall Lohan
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Case1:25-cv-00457-MN
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                                                      Page22of
                                                            of23PageID
                                                                PageID#:
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Case 1:25-cv-00457-MN   Document 12   Filed 04/24/25   Page 3 of 3 PageID #: 467
